                             Case 8:04-cr-00235-DKC Document 1760-1 Filed 03/03/15
                                                                           RECEIVED INPage  1 of 6
                                                                                       THE CHAMBERS OF
                                                                                  ROGER W TITUS
   TRULINCS 38360037 - DOBIE, LAVON - Unit: CRW-H-N
    ------------------------------------------------------------------------------- \-9~-tG~---------------
    FROM: 38360037                                                          UNITED STATES DISTRIC, JUDGE
    TO:
    SUBJECT: CORRECT SENTENCE IMPOSED            .
    DATE: 02/24/2015 03:07:53 PM

    HONORABLE JUDGE TITUS,

      NOW COMES THE DEFENDANT LA' VON DOBIE # 38360-037 PETITIONING THIS HONORABLE COURT TO RE-
    ITERATE THE SENTENCE IMPOSED BY THIS HONORABLE COURT ON DECEMBER 8TH,2014 WITH AN EFFECTIVE
    DATE OF NOVEMBER 1,2015. DEFENDANT DOBIE WAS RESENTENCED TO A TOTAL OF 152 MONTHS AFTER HER
    COUNT 1 SENTENCE WAS REDUCED TO 92 LEAVING ALL OTHER REMAINING COUNTS [34,47,50,53 AND 57]
    RUNNING CONCURRENT; WITH THE EXCEPTION OF THE 924[C] COUNT 61 SENTENCE OF 60 MONTHS, WHICH IS
    CONSECUTIVE TO ALL OTHER TERMS FOR A TOTAL OF 152 MONTHS.[SEE ATTACHED SENTENCE ORDER]

    YOUR HONOR, THE FEDERAL BUREAU OF PRISONS HAS RECALCULATED THE SAID DEFENDANT'S SENTENCE TO
    A TOTAL OF 156 MONTHS OPPOSE TO THE 152 MONTHS THE DEFENDANT WAS ACTUALLY RESENTENCED TO ON
    DECEMBER 8,2014. DESPITE THE EFFECTIVE DATE NOT BEING UNTIL NOVEMBER 1,2015 AND THE COURT ORDER
    STATING A TOTAL OF 152 MONTHS. THE FEDERAL BUREAU OF PRISON LACKS THE AUTHORITY TO INCREASE OR
    DECREASE A DEFENDANTS COURT ORDERED SENTENCE. THE INCREASE OF FOUR MONTHS IS A VIOLATION OF
    THE LAW AND THIS DEFENDANTS CONSTITUTIONAL RIGHTS. PLEASE SEE ATTACHED COMPUTATION SHEET
    VERIFYING THE THE 4 MONTH INCREASE, WHEN RECALCULATING THE DEFENDANTS SENTENCE MADE BY THE
    FEDERAL BUREAU OF PRISON.THE INCREASEMENT AFFECTS THE DEFENDANTS HALFWAY PLACEMENT AND
    HOME CONFINEMENT DATE AS WELL AS VIOLATES THE LAW AND THE SENTENCE ORDER IMPOSED BY THIS
    HONORABLE COURT.

    DEFENDANT MOTIONS THIS HONOR COURT TO NOTIFY THE FEDERAL BUREAU OF PRISON OF THE 152 MONTH
    SENTENCED IMPOSED ON DECEMBER 8,2014 AND TO CORRECT THE ERROR AND ANY CALCULATION USED TO
    JUSTIFY INCREASING THIS DEFENDANTS SENTENCE TO: 13 YEARS AND 20 DAYS FROM THE 12 YEARS AND 8
    MONTHS IMPOSED BY HONORABLE JUDGE ROGER W. TITUS. DEFENDANT DOBIE MOTION'S THIS HONORABLE
    COURT FOR IMMEDIATE RELEASE AFTER THE 152 IMPOSED SENTENCE HAS BEEN SATISFIED, SINCE THE
    FEDERAL BUREAU OF PRISONS CALCULATION INCREASES THE DEFENDANTS SENTENCE AND PREVENTS HER
    FROM BENEFITING FROM THE 18 U.S.C.& 3582[c]{2} BASED ON THE RETROACTIVE APPLICATION OF THE
    AMENDMENT 782 TO THE U.S. SENTENCING GUIDELINES AND AS THE HONORABLE COURT INTENDED WHEN
    IMPOSING THE SENTENCING REDUCTION.

     THIS DEFENDANT HAS PROGRAMMED EXTENSIVELY AND SHOULD BE AWARDED THE EARLIEST RELEASE DATE
    POSSIBLE BY MEANS OF HALFWAY HOUSE ,HOME CONFINEMENT OR IMMEDIATE RELEASE. HOWEVER UNDER NO
    CIRCUMSTANCES SHOULD THE DEFENDANT'S SENTENCE BE LEFT AS THE FEDERAL BUREAU OF PRISON
    RECALCULATION STATES [156 MONTHS] PLEASE SEND AN AMENDED SENTENCING ORDER TO THE FEDERAL
    BUREAU OF PRISON CLEARLY STATING THIS HONORABLE COURTS SENTENCE AND THE INTENDED PURPOSE OF
    THE RESENTENCING WAS TO DECREASE DEFENDANTS SENTENCE NOT TO INCREASE IT. REGARDLESS OF TIE
    ADJUSTMENTS   OR PURSUANT TO DGA CALCULATIONS OR OTHERWISE.

    IN SPITE OF THE INF RMAL NATURE OF THIS DOCUMENT PLEASE CONSIDER AND FILE IT AS A MOTION FOR
    AMENDMENT OF S      TENCE AND CORRECTION OF THE REFLECTED SENTENCING BEING 156 OPPOSE TO THE 152
    MONTH'S 1M         BY THIS HONORABLE COURT.




---.-:~---------- ---- ---- -------
    LA' VON DO IE # 38360-037
    FMC-CAl}    ELL[1 NORTH]
    P.O.BOX 27137
    FT. WORTH ,TEXAS 76127
 "
                        Case
                        Case 8:04-cr-00235-DKC
                              8:04-cr-00235-RWT Document
                                                 Document1760-1 Filed12/10/14
                                                          1729 Filed  03/03/15 Page
                                                                                Page12ofof16


AO 247 (Rev.       11!l1)    Order Regarding Malian for Sentence Reduction Pursuanllu    18 USC.   *   3582(c)(2)                Page I 01'2 (Page 2 NOI for Public Disclosure)



                                                      UNITED STATES DISTRICT COURT
                                                                                  for the



                            United States of America
                                             v.                                 )
                                      Lavon Dobie                               )
                                                                                          Case No:          RWT"04-0235
                                                                                )
                                                                                )         USM No:           3_8_3._60_"_0_37                                                      _
Date of Original Judgment:                                    11/19/2010        )
Date of Previous Amended Judgment:                         __ 1_1_/2_0_/2_0_1_2_)         Sapna Mirchandani
(Use Date of l.a.IIAmended Jrtdgmelll if AllY)                                            Defendanl's Allomey


                            ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                      PURSUANT TO 18 U.S.C. ~ 3582(c)(2)

         Upon motion of       the defendant [l]                  0
                                                  the Director of the Bureau of Prisons       the court under 18 U.S.C.         0
* 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
~ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG ~ 1B 1.10
and the sentencing factors set forth in 18 U.S.C. 9 3553(a), to the extent that they are applicable,
IT IS ORDERED that the mo:ion is:
       DDENIED.     [Z]GRA TED and the defendant's                                      previously imposed sentence of imprisonment                          (as reflected in
                      •••t /.!":!!e:~I!,!
tl!!'l~?~'!/!:-d~,,!,!(                      J2Q.___________                                               •.1£:L!32('~1h
                                                                                 11'(:"+1,:: . ~lld'H'etf 1:'

                                                        (Complele PurlS I and II of Page 2 when mOlion is granled)



  The sentence for count one is reduced from 110 months to 9~months, The sentence for counts 34,47.50.
  53, and 57 is 48 months, to run concurrently to the sentence for count one. The sentence for count 61 is 60
  months, to run consecutively to the other terms, [or a total of 152 months.




Except as othcrwi e provided, all provisions of the judgment dated                                        11/20/2012

IT IS SO ORDERED.                                 '

Q,de,Datc:                  d?ec61:'.~;?O                           Ir                                     ~J-'.       III
                                                                                                                                 ,,"
                                                                                                                             ....pe s .. ~.natllre
                                                                                                                                                     -
Effective Date:                         11/01/2015                                        The Honorable Roger W. Titus, U.S. District Judge
                             (if differenl from order dale)                                                         Prinled name and litle
            Case 8:04-cr-00235-DKC Document 1760-1 Filed 03/03/15 Page 3 of 6
  CRWET 540*23 *                   SENTENCE MONITORING                     *        02-24-2015
PAGE 001       *                     COMPUTATION DATA                      *        11:50:14
                                     AS OF 02-24-2015

REGNO ..: 38360-037 NAME: DOBIE, LAVON


FBI NO              : 334369LA9                       DATE OF BIRTH: 05-18-1964         AGE:     50
ARS1                : CRW/A-DES
UNIT                : UNIT 1 N                        QUARTERS ..... : HOl-143L
DETAINERS           : NO                              NOTIFICATIONS: NO

HOME DETENTION ELIGIBILITY      DATE: 05-01-2015

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE:  11-01-2015 VIA GCT REL

REMARKS            : RELEASE AUDIT COMPLETED ON 01-13-2015 BY DSCC

----------------------CURRENT          JUDGMENT/WARRANT   NO: 010 ------------------------

COURT OF JURISDICTION               : MARYLAND
DOCKET NUMBER                       : RWT-04-0235
JUDGE                               : TITUS
DATE SENTENCED/PROBATION    IMPOSED: 12-19-2006
DATE COMMITTED                      : 01-29-2007
HOW COMMITTED                       : US DISTRICT COURT COMMITMENT
PROBATION IMPOSED                   : NO

                    FELONY ASSESS        MISDMNR ASSESS  FINES                  COSTS
NON-COMMITTED. :    $700.00              $00.00         $00.00                 $00.00

RESTITUTION ...:    PROPERTY:     NO     SERVICES:   NO          AMOUNT:       $00.00

--~----------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE .... : 409
OFF/CHG: 21:846 CONSPIRACY TO DISTRIBUTE & PWITD CONTROLLED SUBSTANCES,
         CT 1; 21:843(B) USE OF A COMMUNICATION DEVICE TO FACILITATE
         NARCOTICS TRAFFICKING, CTS 34,47,50,53,57

SENTENCE PROCEDURE              : 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE. :   146 MONTHS
TERM OF SUPERVISION             :     5 YEARS
NEW SENTENCE IMPOSED            :    96 MONTHS    20 DAYS
BASIS FOR CHANGE                : USSG DRG QNTTY DCSN 11-01-2014
DATE OF OFFENSE                 : 05-18-2004




G0002         MORE PAGES TO FOLLOW . . .
          Case 8:04-cr-00235-DKC Document 1760-1 Filed 03/03/15 Page 4 of 6
  CRWET 540*23 *               SENTENCE MONITORING                *   02-24-2015
PAGE 002       *                 COMPUTATION DATA                 *   11:50:14
                                 AS OF 02-24-2015

REGNO ..: 38360-037 NAME: DOBIE, LAVON



-------------------------CURRENT OBLIGATION NO: 020 ---------------------------
OFFENSE CODE .... : 130
OFF/CHG: 18:924(C) POSSESSION OF A FIREARM IN FURTHERANCE OF A DRUG
         TRAFFICKING CRIME, CT 61

 SENTENCE PROCEDURE              : 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE. :    60 MONTHS
 TERM OF SUPERVISION             :     5 YEARS
 RELATIONSHIP OF THIS OBLIGATION
  TO OTHERS FOR THE OFFENDER     : CS
 DATE OF OFFENSE                 : 06-01-2004

-------------------------CURRENT   COMPUTATION NO: 010 --------------------------

COMPUTATION   010 WAS LAST UPDATED ON 01-13-2015 AT DSC AUTOMATICALLY
COMPUTATION   CERTIFIED ON 01-13-2015 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010, 010 020

DATE COMPUTATION BEGAN           : 12-19-2006
AGGREGATED SENTENCE PROCEDURE    : AGGREGATE GROUP 800 PLRA
TOTAL TERM IN EFFECT             :   156 MONTHS    20 DAYS
TOTAL TERM IN EFFECT CONVERTED ..:    13 YEARS     20 DAYS
AGGREGATED TERM OF SUPERVISION ..:     5 YEARS
EARLIEST DATE OF OFFENSE         : 05-18-2004

JAIL CREDIT                        :   FROM DATE     THRU DATE
                                       05-25-2004    12-18-2006




G0002         MORE PAGES TO FOLLOW . . .
   .    ~,   Case 8:04-cr-00235-DKC Document 1760-1 Filed 03/03/15 Page 5 of 6
  CRWET 540*23 *                SENTENCE MONITORING              *     02-24-2015
PAGE 003 OF 003 *                 COMPUTATION DATA               *     11:50:14
                                  AS OF 02-24-2015

REGNO ..: 38360-037 NAME: DOBIE, LAVON


TOTAL PRIOR CREDIT TIME          : 938
TOTAL INOPERATIVE TIME           : o
TOTAL GCT EARNED AND PROJECTED ..: 590
TOTAL GCT EARNED                 : 513
STATUTORY RELEASE DATE PROJECTED: 1l-01-2015
EXPIRATION FULL TERM DATE        : 06-13-2017
TIME SERVED                      :     10 YEARS       9 MONTHS       1 DAYS
PERCENTAGE OF FULL TERM SERVED ..: 82.3

PROJECTED SATISFACTION DATE        : 11-01-2015
PROJECTED SATISFACTION METHOD      : GCT REL

REMARKS          : 12-07-12 RECV'D SENTENCE REDUCTION REDUCING TIE FROM 206 MOS
                   TO 170 MOS. NO OTHER CHANGES NOTED./B/BM;01-13-15 REC'D ORD
                   REDUCING TIE FROM 170M TO 152M PURSUANT TO DGA. TIE ADJUSTED
                   TO REACH TARGET DATE OF 11-01-15 FOR TIE OF 156M,20D B/CMS.




S0055          NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
                          Case 8:04-cr-00235-DKC Document 1760-1 Filed 03/03/15 Page 6 of 6

'Reg, No,  '#='= =-~3L1=
 Name L4'~~~p;

 Federal Medical Center, Carswell
P.O. Box 27137
Ft. Worth, TX 76127
                                                                                                                                                    USA   1 forever   ,.


                                           <=> 38360-037 <=>
                                                   District Court Of Md
          :.1ECEIVEDIN THE CHAMBERS OF             6500 Cherrywood LN
                  ROGER W TITUS                    CIO Judge Titus
                                                   Greenbelt, MD 20770
                  MAR 02 2015                      United States


      !   ll\:!TED STATES O/STRle, JUDGE




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